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IN THE UNiTED__STATES BANKRUPTCY COURT
FOR THESOUTHERN DESTR[CT OF |LL|NO|S

ALV!ON PROPERT!ES, iNC. Chapter11

)
)
Debtor. ) CASE NO. 15~40462

CHAPTER 11 PLAN OF REORGAN¥ZATION
NOW COl\/IES the Debtor, Alvion Properties, inc., by and through its attorney,
Doug|as A. Antonik, and files this Cnapter 11 Plan of Reorganization pursuant to 11

u.s,c_ §1125.

lNTRODUCTlON
. On Nlay 14, 2015, Debtor filed its Voiuntary Petition for Reiiet under Chapter 11
ot the Bankrup_tcy Code. Since the tifing, _Debtor has continued in possession of the

property and continued to operate their business as Debtor-in-Possession.

oEFrNiTroNs

The foilowing terms, When used in this Flan of Reorganization shaii, unless the
context otherwise requires, have the foliowing meanings:

1.01. Chapter 11 shai| mean Chapter 11 of the United States Bankruptcy Code,
providing for reorganization proceedings

1.02. M shall mean indebtedness of the Debtors Which have been
scheduled, or as to Which a i~'-’roof of Clairn has been tiled by the creditor prior to the
ciairn date and either has not been objected to by the Debtors or has been allowed by

the Court.

 

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1.03. _Cl£§ shall mean any class into Whlch allowed claims are classified
pursuant to Article |ll.

1.04. Confirmation shall mean the entry of an Order by the Court confirming this
Plan. n

1.05. M shall mean the United States Bankruptcy Court for the Souther"n
District of lllinois.

1.06_.' Mg_rshal| mean the Debtor in possession herein, Alvion Properties, lnc.

1.07. Effective date shall mean that date on- Which the Order Confirrning the
Pian becomes final and non-appealable

1.08. Ha_n shall mean the Plan of Reorganization.

1.09. Final Decree shall mean the entry of an Order closing this bankruptcy
case.

1.10. nguidation value shall mean the hypothetical liquidation of the Debtors’
assets under a chapter 7 bankruptcy proceeding at the time of plan confirmation Which
shall include all hypothetical expenses a chapter 7 trustee Wou|d incur including chapter
7 trustee fees and any tax obligation incurred from the liquidation of the debtor(s)

assets.

PROCESS OF VOT|NG AND CONFlRlVlATION
A P|an of Reorganization is the method by Which the claims of secured and
unsecured creditors against the Debtor are satisfied Whether a plan Wil| be
implemented depends on creditors' acceptance and court approval by confirmation of
the Plan of Reorganization. The Bankruptcy Code provides that only creditors Whose

claims or interests are "impaired,” as that term is defined by Bankruptcy Code § 1124,

 

 

 

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are entitled to vote on the pian. Creditors whose claims are not impaired are
automatically deemed to have accepted the plan. 1

Eacln creditor will receive a ballot from the court The Co-urt will set a bar date for
the filing of all ballots Ballots must loe returned to the Debtor’s attorney by the bar date.
Creditors may vote to accept the plan or to reject it. After balloting is completed, a
tabulation of votes will occur. if the creditors whose claims are impaired vote to accept
the plan and certain requirements set forth in Banl<ruptcy Code § 1129(a) are met, the
Court will confirm the plan. An impaired class of creditors Will have accepted the plan it
two-thirds in dollar amounts and more than one~half in number of all allowed claimants
in that class have voted to accept the pian.

lf one or more impaired classes does not accept the plan, the Debtor may ask
the Court to_ confirm the plan if at least one impaired class has accepted the plan and
the plan satisfies the requirements of § 1129(b) of the Banl`<ruptcy Code, "(Cram
Down).”

|f conflrmed, the Plan will become effective after the Court's order of confirmation
becomes final and non-appealable lf the plan is not confirmed, any party may propose

an alternative plan.

l__EASES AND EXECUTORY CONTRACTS OF DEBTOR
The Debtor and Case Coal, LLC entered'into a lease agreement on February 2,
2010 giving Case Coal the opportunity to mine the property owned by Alvion. The
mining of the property never commenced despite the fact that Case Coal has received
the necessary permits to mine the property Royalty compensation for Alvion Was to be

7% per ton ct the gross sales price from strip mining activities The auger method would

 

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`10% per ton of the gross sales price. Alvion was to receive a $60,000.00 non-
retundable minimum royalty upon the execution of the lease and annually thereafter on
the anniversary date. Alvion never received the first minimum royalty payment P_ursuant
to the default and termination provisions of the iease, Alvion gave written notice of the
default and its intention to terminate the lease on October_ZO, 2010 unless payment was
made within the 20 day cure period of the lease. Case Coal did not make the required
payment thus the lease terminated upon the expiration of the cure period To be clear,
the Debtor rejects any lease.interest that may exist with Case Coal, LLC. The Debtor is
not aware of any other executory contracts The Debtor rejects any purported leases
with, by or between George l-loward and his corporation SVVRR Properties, lnc. The
Debtor rejects any unknown executory contract claim any entity may ciaim.
n SECURIT‘( lNTEREST

Upon completion of this Plan, creditors whose iiens are deemed unsecured by
the plan shall issue a termination statement to the Debtor to be flied in the appropriate
recording office. As for creditors who retain their lien throughout and beyond the
duration of the Chapter 11 Plan, the holder ot these claims shall release the lien and- _
issue the appropriate termination or release documents upon payment in full of their
claim as provided by this Chapter 11 Plan or any subsequent court-approved
modification pursuant to Banl<ruptcy Code § 1129. Except as provided for in this Plan,
all other terms and conditions or mortgages security agreements and promissory notes
shall remain in effect. No pre-petition lien shall extend to post-petition after acquired

property

 

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REoReAerEo oEeToré

`i'he property of the Debtor shall revest in the Debtor upon confirmation in
accordance with 11 U.S.C. § 1141. Should this Chapter 11 proceeding be converted to
a Chapter 7 before substantial consummation, the property of the Chapter 11 debtor
which revested in the debtor upon plan confirmation, shall revest in the Chapter 7
estate'

The Debtor may employ professionals post contirrnation, including, but not
limited to, accountants and attorneys who- will not be required to file fee applications and
may be paid by the Debtor in its ordinary course of business

Post confirmation, the Debtors may sell, lease or pledge certain property post

confirmation if the opportunity presents itself

CLASSES OF SECURED CLA|MS
Upon' Plan confirmation, the Debtor will pay the secured creditors pursuant to
each secured claimants treatment provided for by this Plan. The secured creditors
shall retain their liens as identified herein to the extent of indebtedness as provided for

in this Chapter 11 Plan except as expressly stated otherwise

DEAQ_|,_¥NE TO FlLE CLAIMS
The Court has established September 15, 2015 as the deadline to file a proof of
claim and November10, 2015 the deadline for governmental units
OBJECT|ONS TO CLAlNlS
Debtor reserves the right to object to any claims filed post-confirmation for a
period of ninety (90) days after the claim is filed. On September 10, 2015 George

Howard has filed a mechanic lien claim tor 34,500,250.00. The claim is totally baseless

 

 

 

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and the Debtor will tile an objection to the claim.
ADNllNlS'l'RATlVE CLAIMS

The Debtor has paid post-petition claims it has incurred asthey became due
except for professional fees which are subject to court approval The Debtor will pay
post-petition administrative claims as they become due except for professionals which
are subject to court`approval_ The debtor may pay professional claims incurred post
confirmation in its ordinary course of business

CLASSlFlCATlON AND TREATMEN'T OF CLAll'viS

As of Septem`ber 3, 2015, the estimated claims and debts of Alvion to be paid is

2,366,419.20 not including administrative expenses which at this time are estimated to

be under $10,000.00.

CLASS 1: _Class 1 creditors shall consist of all creditors with debts entitled to
priority under § 507 of the Code (except administrative expense claims under §
507(a)(2), and priority tax claims under § 507(a)(8)). 'l'o the best of the Debtor’s

knowledge no creditor holds any claim entitled to priority

CLASS 2: The C|ass 2 creditor shall be those creditors which hold secured
claims against the Debtor.

CLASS 2A: The Class 2A creditor shall consist of Farrners State Bank of Alto
Pass which is secured by a real estate mortgage on the Debtor’s real estate Although
the Debtor disputes whether this claim includes the mineral rights, nevertheless this

claim is fully secured as the value oi the real estate only is in excess 01$1,600.000.00.

 

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The secured claim shall be paid in full, with interest, from the sale proceeds received
from the Webb Creek transaction This claim is unimpaired.

Class 3 The Class 3 creditors shall consist of all creditors holding unsecured
claims allowed under § 502 ol'tfi`e Code other than unsecured claims filed by taxing
authorities and shall consist of all general unsecured creditors including any deficiency
claims Class 3 creditors claims are as filed and allowed or as listed in the Debtors’
Banl<ruptcy Schedule F and not contingentj un-liquidated- or disputed The Class 3
claimants will be paid in' full, with interest, if their pre-petition contract provides for
interest The Class 3 claims shall be paid if full from the Webb Creel< transaction This '
class is unimpaired.

CLASS 4: The Class 4 claimant shall consist of the Debtor and its
stockholders and represents its interests Debtor shall retain ownership of all property ot
the estate l
l SALE OF 7REAL'ESTATE PURSUANT TO WEi?»B CREEK PROPOSAL

Webb Creek l\/lanagement Group, LLC, located in Rome, Georgia, has submitted
a detailed proposal to monetarize and sell approximately 1,246 acres plus all mineral
rights from that acreage 'l'he memorandum-and description of the structural structure
and monies realized is attached and incorporated herein. All parties of interest are
urged to read the memorandum and its attachment for a full description of then
transaction

The net proceeds the Debtor will realize from the transactions will be
approximately 6,000,000.00 Which will be sufficient to pay ali creditors in tul|. The

delivery of the funds to the Debtor's disbursing agent will occur prior to December 31,

 

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2015. Payment to the creditors.will be shortly after the receipt of the funds by the
disbursing agent l

The investors identified in the memorandum have already been procured by
Webb Creek. The details of the newly created LLC’s and time frames will be revealed in
a motion to sell to be filed by the Debtor. The motion to sell and the approval ofthe plan
of reorganization are anticipated to occur simultaneously The Debtor intends that the
sale motion Will include more details and safe guards for the Debtor to allow plan
approval and the sale motion hearings to occur concurrently

APPO|NTMENT OF D|SBURS|NG AGENT

The Debtor will tile a separate motion to appoint a disbursing agent to receive the
sale proceeds and disburse the monies to the creditors pursuant to the approved plan of
reorganization

QAUSES OF AC'l'lON

Debtor reserves the right to pursue any causes of action that may be available to
the estate prior to completion of the Chapter 11 Plan, The Debtor has a cause of action
against Bern Weber for fraud, embezzlement and mismanagement, against the Farmers
State Bank for failure to release its interest in minerals Case Coal LLC for breach of
lease and against George l-loward tor lease fees, timber and intentional inference with
contractual relationships All causes of action that have been identified at this time
shall continue and be viable claims post confirmation and post final decree as the
liquidation ot said causes of action are not necessary at this time to pay creditors in full

and consummate the proposed chapter 11 plan of reorganization.

 

 

 

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NiiscELLANEou,s anomalous
Until all claims `have'been allowed and all disputes have been resolved the Court

Will retain jurisdiction for at least the following purposes:

a) The classification of the claim of any creditor and the reexamination of
claims which have been allowed for purposes of voting, and the determination of such
objections as may be filed to claims The failure by the Debtor to object to any claim for
the purpose of voting shall not be deemed to be a waiver of the Debtor's right to object
to, or re-examine, the claim in whole or in part.

b) Determination of all questions and disputes regarding title to, security
interests in and liens against the assets and determination of all causes of action,
controversies disputes or conflicts whether or not subject to an action pending as of
Confirmation, between the Debtor and any other party including, but not limited to, any
right of the`Debtor to recover assets and money pursuant to the provisions of Title 11 of
the United States Code

l c) The correction of any defect, the curing of any omission, or the
reconciliation of any inconsistency in this Plan or the Order of Conflrmation, as may be
necessary to carry out the purpose and intent of this P|an.

d) The modification of this Plan after the Confirmation pursuant to the
Banl<ruptcy Rules and Title 11 of the United States Code

e) Entry of any order, including injunctions necessary to enforce the title,
rights and powers of the Debtor and to impose such limitations restrictions terms and
conditions on such title, rights and powers as this Court may deem necessary

f) Entry of an Order concluding and terminating this case.

 

 

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g) Debtor reserves the right to prepay any indebtedness pursuant to the
confirmed Chapter 11 Plan of Reorganization. Debtor Will not accrue an interest penalty
for early repayment

The Debtor may propose amendments to or modifications of this Plan at any time
prior to or after Confirmation pursuant‘to the Bankruptcy Rules and Title 11 of the
United States Code

Subrnitted by:

/s/ Shirley Karnes l\/ledlev
Alvion Properties, lnc.

By /s/ Douqlas A. Antonik
DOUGLAS A. ANTON|K - #06190629

ANTON|K LAVV OFFICES
3405 Broadway - PO Box 594
l\/lt Vernon, |l_ 62364

Phone: (618) 244-5739

Fax: (618) 244-9633
antoniklaw@charter.net

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CERT]FICATE OF SERV|CE

The undersigned certifies that a copy of the foregoing Plan of Reorganization
was served electronically on:

l\/lark Skaggs, U.S. Trustees Office, 401 l\/lain Street, Suite 1100, Peoria, lL
61602

Joel A_ Kunin, Esq., The Kunin l_aw Offices, LLC, 1606 Eastport Plaza Drive, Ste.
110, Collinsville, ll_ 62234-6134

Ziemer, Stayrnan, Weitzel & Shoulders Ll_P, Attn: Nick j. Cirignano, P.O. Box
916, Evansville, lN 47706-0916

The Coffman Law Firrn, Richard Coffman, 505 Orleans, Suite 505, Beaumont, TX
77701

Clancy Covert, PO Box 15307, Chattanooga, TN 37415

Dana Petway, 250 Sandersferry Rd., Condo 29, Hendersonvil|e, TN 37075

Darrell Dunham, PO Box 803, Carbondale, lL 62903

David Cox, PO Box 789, Harrisburg, lL 62946

Jack Harper, 400 S. Granger, Harrisburg, lt. 62946

Keith Grant, 633 Chestnut St., Ste. 700, Chattanooga, TN 37415

Robinson Smith and Wells, 633 Chestnut St., Ste. 700, Chattanooga, TN 37415

Ron Pickering, 214 Estate Dr., New lberia, i_A 70563

Alvion Properties, lnc., 22 S. lVlain St., Harrisburg, lL 62946

via electronic noticing and/or by U.S. mail on the 11th day of September, 2015. The
above is true and correct to the best of the undersigned's knowledge

/s/ Alisha Finke
/-\lisha Finke

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chb Crcel<

!\AANAGEJV\ENT GROUP

MEMORANDUl\/i
TO: Doug Antonik
FROM: Bryan i{elley, CEO, Webb Creelr Managernent Group, LLC
DATE: August 25, 2015
Dear D_oug:

Webb Creel: l`vfanageinent Group, LLC (“Webb Creek”) is a Georgia-based
property management, development, and conservation concern that specializes
in helping landowners achieve their objectives with respect to real property
Webb C:reel<’s service platform includes assistance to financially distressed
landowners in the production of adequate funds to retire debt and accomplish
other financial objectives of the landowner. ln essence, Webb Creek uses its
expertise to develop plans for real property that will provide an economic
benefit to owners and then invites investors to participate in ownership of the
property by either raising capital from investors through a nation-wide broker
dealer network or by identifying specific investor groups to provide capital
outside of a broker-dealer networl<. Webb Creelc enjoys a demonstrated record
of success and is happy to discuss its history in detail

Webb Creel< is familiar with Alvion Properties, lnc. (the “De`t)tor” or “Alvion”},
and has conducted due diligence with respect to the real property located in
Scott County, Virginia (the “Propertv"}. belonging to the Debtor. Webb Creek
cannot guarantee but is confident that it can use the model set forth below to
generate sufficient funds to pay all of Alvion’s creditors as set forth in its
Chapter ll petition and in proofs of claim that have been filed, including
potentially a 100% dividend to unsecured creditors on or before Decernber 31,
2015. Specitically, Welob Creel< has identified an investor group (“Purchaser”j
that has expressed considerable interest in acquiring the Property. Prior to
embarldng¢on this journey, Webb Creel< and the Purchaser seek adequate
assurance from Alvion’s creditors from the United States ’l`rustee appointed to
Alvion’s bankruptcy matter, and from the judge assigned to Alvion’s case that
the structure set forth below is appropriate within the confines of chapter ll
and will be permitted to close without objection or obstruction prior to
December 31, 2015.

210 East Second Avenue - Suite 105 ~ Rome, GA 30161
Phone: 706-237-6100
Www.webbcreekmanagementcom

 

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'i`he transactional structure that would be utilized is as follows:

l. Aivion wouid convey approximately 1,248 acres {being ail of the acreage
that is held by the Debtor in fee simple} and the mineral rights thereto
into an LLC {herein, “PropCo”} in exchange for 99% of the units of
PropCo. Webb Creek lnvestments, LLC (“U”) wilt contribute cash in an
amount equivalent to l% of the agreed-upon value of Alvion’s aggregate
capital contribution to PropCo. The capitalization of PropCo will be
structured so as to qualify as a nontaxabie exchange under 26 U.S.C. §
721. Webb Creek would serve as the manager of PropCo and would act
according to rights and obligations set forth in PropCo’s operating
agreement and a separate management agreement that would be entered
into by and among Webb Creek and the Debtor. WCl and Webb Creek
have common ownership and are related entities. Any lien or other
security interest that may currently encumber the Property would remain
in place.

2. Webb Creek would create a second LLC (“InvestCo”) that would be
capitalized by Purchaser in the amount of approximately $9,400,000.00
in cash in exchange for 99% of the units of lnvestCo. lnvestCo will issue
one (l) unit to WCI for purposes of complying with available securities
registration exemptions with respect to InvestCo. Accordingly, lnvestCo
will be owned as follows: (l) 99% by Purchaser, and {2) l% by WCI.
Webb Creek will serve as the Manager of lnvestCo.

3. PropCo and Alvion will enter into a l\/lembership Unit Purchase
Agreement {“MUPA”} with lnvestCo, under which InvestCo will agree to
purchase 98 of the 99 PropCo units belonging to Alvion for approx.
SE),OO0,000.00 (the “Unit Purchase Price”). The closing (“Closing”) of the
MUPA will take place on or before December 31, 2015,.

4. Upon the Closing, the closing agent will remit the Unit Purchase Price to
Aivion Properties, Inc. for deposit into its Debtor in Possession account
The balance of funds held by lnvestCo would be used to further
Purchaser’s intended purposes with respect to the Property. The amount
remitted to Alvion would be used to satisfy the claims of its creditors
Upon satisfaction of Alvion’s creditors, it is imperative that all iiens,
encumbrances, or other security positions with respect to the Property
that are heid by Alvion’s creditors be cancelled of record prior to
December 31, 2015.

 

 

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5, Following the Closing, PropCo will be held as follows: (l) 1% by Alvion, (2}
'l% by WCl, and (3) 98% by members of InvestCo. '

Attached hereto as Exhibit “A” is a draft of sources and uses of funds that is
projected by Webb Creek with respect to this project. All figures are estimates
for discussion purposes only and are subject to change

A substantial amount of work by a number of individuals and professionals is
required to complete the steps set forth above and remit funds to Alvion’s
debtor in possession account on or before Deceinber 31, 2015. Time is of the
essence, but the threshold question for Webb Creek and Purchaser is whether
adequate assurance can be given that they will be permitted to conduct this
transaction to closing with the blessing of the court and without objection or
other obstruction from Alvion’s creditors or the United States Trustee. This
memorandum is obviously a birds“eye view of this transaction and numerous
questions may arise from Alvion’s creditors, the United States Trustee, or the
court. Webb Creek welcomes the opportunity to discuss these questions in full
detail, and looks forward to receiving assurance that it can begin work on this
project and produce a favorable result for everyone involved.

 

C)J

 

 

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EXHIBIT "A"

Afvion, LLC
Macie Availabfe Through
Webb Creek N|anagement Group, LLC
1 ,248 Acres - Scott County, Virginia

Estimated Cash Raised *

Less Payoff‘s, Expenses & Reserves
Mortgages**

Legal, Professiona| Fees & Commissione
Working Capita| & Development Exoenses ***
Confingenoy Reserves

ther

Estimated Net Redemption Price to Sellers

 

 

 

 

 

 

 

s 9,408:000 $ 9,312,000
$ - $ -

s (2,069,430) $ (2,063,720)
s (716,800) s (716,300}
s (600,000) $ (600,000)
$ - 5 -

$ 6,021,720 > 5,931,430

 

 

* Hypoll)e!lcal Casn Ralse Estlmales are for discussion purposes onl,v. Ac:lual cash raise will be determined aner lnlllal valuallon.

** All property liens will be sausned al closing No properly liens have been lo'enlllfed by the seller. Sailsfaclion ofproper!y liens will

reduce the Esllmafed Nel Redempllon Pn'ce fo Sellers

"" Worlrlng Capr`lal and Developmenl Reserves Will be used to pursue development options pursuant lo a vote by the Members, Thr
will evaluale, and presentl various feasible uses for the property to the Members_ Memhers will choose one of the following optlol

-- Currenz` Develo_nmanl
- Fufure llovelopn'zent
- Conserve!ion l?asement - §lRC l?[,’!’n)

For Discussion Purposes Only -All numbers are estimates

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Alvion, LLC
Made Avallable Through _
Webb Creek Management Group, LLC
1,248 Acres - Scott County, Virginia'

 

 

 

 

 

 

ftlolts-fo°-:t§)'e detained j " - i`;

 

Estimateci Lega|, Professiona| Fees & Commissions

 

 

Project Management and Consu|ting Fee $ 1,200,000 $ 1,200,00{)
Broker Plaoement Fee 564,460 558,`720
Lega| F'ees ; _ 200,00(} 200,000
Acoounting 50.000 50,000
l_ega| - Title Opinion 5,000 5.000
Appraisals & Review 50,000 50,000
Other - -
To_ta| Fess, E)<penses & Working Capita| 3 2,069,480 $ 2,063,@_

 

 

Estimated Working Capita| 8. Development Expenses

 

 

 

 

 

 

General Liabilit‘jt insurance $ 20,000 $ 20,000
Properly Taxes -- 2015 $ 20,000 $ 20,00[}
Properfy Taxes - 2016 - 2020 $ 100,000 $ 100,(}00
Aocounting & 'l'ax Preparation Expense - 2015 - 2020 $ 31,800 $ 31,800
Management Fee 2016 - 2020 $ 120,000 $ 120,000
Genera| &Admioistrative E)<penses $ 200,000 $ - 200,000
Deve|opment .:Expenses $ 125,000 $ 125,000
llpfront cost Reinibusaement _' ' 5 100,000 $ 100,000
lotal Estimated Working Capital " 716,800 $ 715,800
Reiiubursoments (ltems Paid by Manager in Advanc:e)

/-tppruisa|s 83 Re‘.'iew $ 30,000 3 30,00-‘5
Lega' $ 5,000 $ 5,000
i_and 'l'nist $ 12,500 $ 12,500
Escrow & Administrat§ve $ 52,500 3 52,500
Tota| $ 100,000 $ 100,000

 

sl24/15 For Discussion Purposes On!y -All numbers are estimates Page 2 or2

